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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN




  ELLA MORGAN, an individual,
                                                           Case: 1:24-cv-00154
        Plaintiff,
                                                           Hon. Jane M. Beckering


   ABUNDANT LIFE HOMES,

   Michigan Limited Liability
   Company,




        Defendants.




                      AFFIRMATIVE, SPECIAL AND OTHER DEFENSES

       NOW COMES Defendants Charles Dotson, by and through counsel, Bolhouse, Hofstee &

McLean, P.C., and does hereby state the following as Defendant’s Affirmative, Special, and Other

Defenses:

       1.      Plaintiff has failed to state a claim upon which relief can be granted and Defendant

is entitled to summary judgment.

       2.      One or more of Plaintiff’s claims are barred by the Statute of Limitations.

       3.      One for more of Plaintiff’s claims are barred by the Statue of Limitations.

       4.      Plaintiff’s damages are limited by Michigan’s Economic Loss Doctrine.

       5.      Defendant Charles Dotson is a bona fide, good faith purchaser for value and is

entitled to all equitable and statutory protections afforded to him. Dotson had no knowledge or

information as to the Plaintiff or her financial circumstances. Dotson purchased the property from
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Abundant Life Homes LLC on July 7th, 2023 for $60,000 well over a year after Abundant

Life Homes had allegedly negotiated their deal with Plaintiff on March 22nd, 2022. Dotson

obtained a Warranty Deed from Abundant Life Homes LLC. Dotson did a title search and obtained

title insurance.

         6.        One of more of Plaintiff’s claims are barred by Plaintiff’s failure to mitigate

damages.

         7.        One or more of Plaintiff’s claims are barred by Plaintiff’s failure to perform and or

Plaintiff’s breach of contract, warranty, and covenant.

         8.        Defendant is are entitled to any and all offsets owed to him for all taxes, insurance,

and lost profits, lost interest, etc. on his funds.

         9.        One or more of Plaintiff’s claims are barred pursuant to the doctrine of unclean

hands.

         10.       Plaintiff has failed to establish a sufficient factual basis to support the elements of

her claims against Dotson; therefore, her complaint should be dismissed with prejudice. See Bell

Atlantic Corp. v. Twombly, 550 US 544 (2008); and Ascroft v Iqbal, 556 US 662 (2009). Defendant

is entitled to Summary Judgment pursuant to Fed. R. of Civ. P. 56.

         11.       Plaintiff’s complaint has failed to plead sufficient facts to raise a reasonable

expectation that discovery will reveal evidence of unlawful activity or any misconduct by the

Defendant Dotson. See Bell Atlantic Corp. v. Twombly, 550 US 544 (2008); and Ascroft v Iqbal,

556 US 662 (2009). Defendant Dotson is entitled to Summary Judgment pursuant to Fed. R. of

Civ. P. 56.

         12.       Plaintiff’s claims are estopped, in full or in part, due to Plaintiff’s own default, and

her inability to demonstrate that she could have prevented her home from loss via tax foreclosure

or that she would have qualified for a mortgage loan from another lender which would have

prevented loss of her home through tax foreclosure
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       13.     Many of the Plaintiff’s allegations are mere conclusions of law and fact and are

therefore not entitled to be assumed as true. See Bell Atlantic Corp. v. Twombly, 550 US 544

(2008); and Ascroft v Iqbal, 556 US 662 (2009). Defendant Dotson is entitled to Summary

Judgment pursuant to Fed. R. of Civ. P. 56.

       14.     Defendant Dotson hereby reserve the right to add any additional affirmative

defenses as they arise through discovery against Plaintiff. Dotson further reserves the right to file

a cross claim against the other defendants named in this lawsuit. Dotson incorporates by

reference and hereby claims the right to use any affirmative defenses raised by or claimed by any

other Defendants in this action.

                                              Respectfully submitted,

Dated: April 22, 2024                         Bolhouse, Hofstee & McLean, P.C.


                                              By: /s/ Michelle M. McLean
                                                      Michelle M. McLean (P71393)

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                                              Attorneys for Defendant Charles Dotson
